Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 1 of 8 PageID 259
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 2 of 8 PageID 260
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 3 of 8 PageID 261
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 4 of 8 PageID 262
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 5 of 8 PageID 263
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 6 of 8 PageID 264
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 7 of 8 PageID 265
Case 8:06-cr-00515-JSM-J_S Document 103 Filed 10/30/07 Page 8 of 8 PageID 266
